                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 UNITED STATES OF AMERICA                                  )
                                                           )
                                                           )     NO. 3:19-cr-00296
 v.                                                        )
                                                           )     JUDGE RICHARDSON
                                                           )
 DAVID WIGGINS                                             )


                              ORDER AND MEMORANDUM OPINION

        Pending before the Court is Defendant’s “Motion to Suppress Photo Identification, In Court

Identification and Request for Evidentiary Hearing” (Doc. No. 46, “Motion”). The Government

filed a response in opposition, (Doc. No. 48, “Response”), and Defendant filed a reply (Doc. No.

49, “Reply”). For the following reasons, Defendant’s Motion is DENIED.

                                              BACKGROUND1

        On February 2, 2019 at approximately 8:47 p.m., a robbery occurred at the Tennessee

Quick Cash store located in Madison, Tennessee. Tennessee Quick Cash employee Briana Avery

was the sole witness to the robbery. Metro Nashville Police Department (“MNPD”) Officer Cecilia

Gomez arrived on scene and took Ms. Avery’s statement. Ms. Avery described the robber as a

black male wearing a black hat, black sweater with a white undershirt, and black pants. She also

described the robber as wearing prescription glasses. Officer Gomez’s Incident Report indicates

that the robber was a “Black or African American” male between 40 and 50 years old, around five

foot nine inches in height and weighing 200 pounds.



        1
           These facts are taken from the Incident Report (Doc. No. 49-1) and the Photographic Identification Form
(Doc. No. 46-1) that Defendant relies on in his own factual recitation section of his Motion and appears to accept as
accurate for purposes of the Motion.




      Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 1 of 11 PageID #: 210
         An anonymous Crime Stoppers tip identified Defendant as a suspect in the robbery.

Detective Richard Gilbert assembled a photographic lineup,2 which he showed to Ms. Avery on

February 8, 2019. The photo array comprises six photos of black3 males (each a “comparator” and

collectively, “comparators”) arranged in two equal rows of three. On the photo array, Defendant’s

picture (numbered 3) has been circled with the signature of the eyewitness (Ms. Avery) appearing

below his image, apparently to memorialize her identification of Defendant as the robber. When

Ms. Avery identified Defendant in the photo array she stated that “[it’s] his chin.”

         Defendant was subsequently charged in an indictment with one count of so-called Hobbs

Act robbery in violation of 18 U.S.C. § 1951(b) and one count of possession of a firearm during

and in relation to a crime of violence in violation of 18 U.S.C. § 924(c)(1)(A). (Doc. No. 1).

                                              LEGAL STANDARD

         The admission of evidence of an out-of-court identification violates the due process clause

only when the identification procedures are so unnecessarily suggestive that they create a “a very

substantial likelihood if irreparable misidentification.” Perry v. New Hampshire, 565 U.S. 228,

232 (2012) (quoting Simmons v. United States, 390 U.S. 377, 384 (1968)) (internal quotation marks

omitted).4 To determine whether a violation of due process occurred in a photograph identification,

courts apply a two-prong test. Haliym v. Mitchell, 492 F.3d 680, 704 (6th Cir. 2007) (citing




         2
          The photographic lineup at issue is referred to interchangeably in this Opinion as “photo array” and
“photographic lineup.”
         3
           There is nothing in the photo array or Incident Report, and no information available to the Court, to indicate
that either the robber or the comparators are actually American, so the Court herein uses the term “black” instead of
African American.
         4
           The circumstances of the particular out-of-court identification involved here suggest that it would be
excluded from the definition of hearsay under Fed. R. Evid. 801. Because of this and its obvious relevance, this
particular out-of-court identification seemingly would be admissible unless (1) its probativeness somehow was
substantially outweighed by the danger of unfair prejudice, see Fed. R. Evid. 403, or (2) its admission is barred by due
process considerations as Defendant claims via the Motion.

                                                                2

    Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 2 of 11 PageID #: 211
Howard v. Bouchard, 405 F.3d 459, 469 (6th Cir. 2005)). First, “the defendant must show that the

identification procedure was unduly suggestive.” United States v. Sullivan, 431 F.3d 976, 985

(2005). If the defendant does not carry this burden, admission of the out-of-court identification is

not a due process violation and the court’s inquiry can end there. See Perry, 565 U.S. at 248. If it

was, the Court then must “consider whether the evidence was nevertheless reliable despite the

impermissible suggestiveness of the identification procedure.” Haliym, 492 F.3d at 704 (citing

Howard, 405 F.3d at 469).

       A photographic lineup may be unduly suggestive if “a witness’s attention was directed to

a suspect because of police conduct.” Howard, 405 F.3d at 470 (citing 2-5 Crim. Con. Law §

5.05(2)(b) (2004)). A law enforcement officer’s intent “to prejudice the defendant” is not relevant

to this determination. Howard, 405 F.3d at 470 (Thigpen v. Cory, 804 F.2d 893, 895 (6th Cir.

1986)). Rather, this analysis “questions whether the procedure itself steered the witness to one

suspect or another, independent of the witness’s honest recollection.” Wilson v. Mitchell, 250 F.3d

388, 397 (6th Cir. 2001) (citing United States v. Russell, 532 F.2d 1063, 1068 (6th Cir. 1976)). At

step one, “the primary evil to be avoided is a very substantial likelihood of irreparable

misidentification.’” Howard, 405 F.3d at 470 (quoting Neil v. Biggers, 409 U.S. 188, 198 (1972)).

This is an objective, totality-of-the-circumstances test examining the effects and circumstances of

the identification procedure. Id. (citing Thigpen, 804 F.2d at 895).

       If the photographic lineups are deemed unduly suggestive, the Court must then determine

whether the out-of-court identification was reliable. To determine whether the identification was

“independently reliable,” the Court “consider[s] the totality of the circumstances, including the

following factors: (1) the opportunity of the witness to view the defendant at the initial observation;

(2) the witness’s degree of attention; (3) the accuracy of the witness’s prior description of the



                                                      3

    Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 3 of 11 PageID #: 212
defendant; (4) the level of certainty shown by the witness at the pretrial identification; and (5) the

length of time between the initial observation and the identification.” Id. at 482 (citations omitted).

The Court “weigh[s] these factors against any ‘corrupting effect of the suggestive identification.’”

Id. (quoting Manson v. Brathwaite, 432 U.S. 98, 114 (1977)).

       Defendants who seek to suppress evidence allegedly obtained in violation of the Bill of

Rights (including the Fifth Amendment in particular) bear the burden of proof. See United States

v. Cooper, No. 7:16-CR-1-DCR-EBA-1, 2016 WL 11432399, at *4 (E.D. Ky. Apr. 29, 2016),

report and recommendation adopted, No. CR 7:16-01-DCR, 2016 WL 2944661 (E.D. Ky. May

20, 2016); see also United States v. Rodriguez-Suazo, 346 F.3d 637, 643 (6th Cir. 2003) (“It is

well settled that in seeking suppression of evidence the burden of proof is upon the defendant to

display a violation of some constitutional or statutory right justifying suppression.” (quotation

omitted)); United States v. Mack, 442 F. App’x 881, 882 (4th Cir. 2011) (“The defendant bears the

initial burden of production in challenging the admissibility of an out-of-court identification.”

(citing United States v. Johnson, 114 F.3d 435, 441 (4th Cir. 1997))). The Sixth Circuit has made

clear that this burden of proof extends to both “the burden of production and persuasion.” United

States v. Patel, 579 F. App’x 449, 453 (6th Cir. 2014) (“The defendant who requests suppression

bears the burden of production and persuasion.”).

                                            ANALYSIS

       Defendant attacks the photo array as being violative of his due process rights in three

aspects. Specifically: (1) Defendant claims that he is “the only old guy in the photo array . . . [h]e

appears to be twenty years older than the other five suspects” (Doc. No. 46 at 2); (2) Defendant

argues that his “photograph is substantially larger than the other five photographs” (id.); and (3)

Defendant asserts that he is “the only guy [in the photo array] wearing a white t-shirt” (id.). In its



                                                      4

    Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 4 of 11 PageID #: 213
Response, the Government argues that none of these arguments help Defendant to meet his initial

burden of production to show that the photographic lineup in this case was unduly suggestive.

(Doc. No. 48 at 3). Thus, the Government contends that “[b]ecause [Defendant] has not [met his

initial burden], this Court can end the inquiry; there was not (nor can there be) a due process

violation.” (Id.). The Court will explore Defendant’s arguments in turn.

         I. Defendant’s Age

         As noted above, Defendant suggests that the photo array is unduly suggestive because he

is “the only old guy in the photo array.” (Doc. No. 46 at 2). The Government argues that

Defendant’s opinion as to this matter is simply not proof that the other comparators are

substantially younger than Defendant. (Doc. No. 48 at 4). Further, the Government asserts that

Defendant’s assessment of the photo array “leaves plenty of room for subjective interpretation”

and that, in the Government’s view, at least two other comparators appear to be relatively close to

Defendant’s age and are therefore encompassed within the witness’s description of the robber

being between 40 and 50 years old. (Id.).5

         The Court agrees with the Government. Upon review of the photo array, Defendant does

appear to the Court to perhaps be the oldest comparator. However, it also appears to the Court that

several comparators fall into the “40-50 year” age range given as a description of the robber by




         5
            The Government also argues that “the Sixth Circuit has repeatedly held that a photo array is not suggestive
where only the defendant is depicted with a personal attribute which is expressly referenced by a witness.” (Doc. No.
48 at 4 (citing United States v. Washington, 714 F.3d 962, 968 (6th Cir. 2013); United States v. Peterson, 411 F. App’x
857, 864–65 (6th Cir. 2011); Legenzoff v. Steckel, 564 F. App’x 136, 144 (6th Cir. 2014))); but see Raheem v. Kelly,
257 F.3d 122, 134 (2d Cir. 2001) (“A lineup is unduly suggestive as to a given defendant if he meets the description
of the perpetrator previously given by the witness and the other lineup participants obviously do not.”). The Court is
not sure how a photo array is not suggestive if only one comparator has a salient characteristic; it would seem that the
array thereby tends to uniquely suggest this comparator as being the perpetrator. But the Court need not reach this
argument, as it finds above that several comparators fall into the “40 – 50 years” age range, meaning that Defendant
was far from the only comparator fitting the description of the robber in terms of age.



                                                               5

    Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 5 of 11 PageID #: 214
the witness. Specifically, the comparators in photos 2, 4, and 5 appear to the Court to be at least

40 years old. Thus, the fact that Defendant appears the oldest is not unduly suggestive because he

is not the only person in the photo array that falls into the age-range category given by the witness

and therefore, the “witness’s attention [was not] directed to [Defendant]” as the only person that

could potentially fit the suspect’s description. Howard, 405 F.3d at 470. In his Reply, Defendant

argues that “[i]t seems that anyone with good vision would also conclude that Mr. Wiggins is the

only old guy in the bunch” and anyone that would conclude that other suspects in the photo array

appear to be close to Defendant’s age would need to “schedule[] an eye examination.” (Doc. No.

49 at 2). With all due respect, the Court does not believe that one must have failing eyesight to

reach the conclusion that at least four men (including Defendant) portrayed in the photo array

could fall into the 40-50 age range. Rather, in the Court’s view, this is a relatively obvious

conclusion. To the extent Defendant’s point is that Defendant is clearly the oldest of the group, the

Court does not disagree; but the Court ascribes relatively little weight to this observation, since an

eyewitness well might perceive that naturally one of the six has to be the oldest and might appear

to be the oldest, and that being the oldest by no means makes that one the perpetrator rather than

merely, well, the oldest.

       Thus, the Court concludes that the the minor differences in age “‘would hardly suggest to

an identifying witness that [Defendant] was more likely to be the culprit.” United States v.

Funches, 84 F.3d 249, 253 (7th Cir. 1996) (quoting United States v. Bautista, 23 F.3d 726, 731 (2d

Cir. 1994)). Thus, Defendant has not met his burden of production to show that Defendant’s age

as portrayed in the photograph is unduly suggestive.

       II. The Size of Defendant’s Photo

       Defendant asserts that his “photograph is substantially larger than the other five



                                                      6

    Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 6 of 11 PageID #: 215
photographs.” (Doc. No. 46 at 2). However, upon review of the photo array, the actual size of all

six photographs in the array is the exact same. What the Government surmises that Defendant is

actually attacking is the size of the image of the comparators’ heads within the respective

photographs, as Defendant’s head does appear to be slightly larger (or more zoomed in, i.e., taking

up a larger portion of the area of the photograph) than the image of the head of the other

comparators. The Court agrees that this is what Defendant was actually referring to.

       Essentially disputing that Defendant stands out from the other comparators merely because

there is something unique about his photo, the Government argues that that numerous comparators

appear to be “oriented” in a unique way. While Defendant (comparator 3) may appear somewhat

larger in his photo than the other comparators appear in theirs, comparator 5 appears smaller in his

photo than the other comparators appear in theirs, comparator 2’s head appears to be titled to the

right, comparator 4’s head is titled to the left, and comparator 6’s picture has a completely different

background color than do all other pictures in the photo array. (Doc. No. 48 at 6). The Government

asserts that “these ‘subject orientation issues’ apply, at some level, to each of the suspects in this

photo array such that it is impossible to say that one photo stands out for subject orientation alone.

Because each photo has some subject orientation issue of one degree or another, the lineup cannot

credibly be said to be unduly suggestive: if all the photos have some kind of subject orientation

issue than none stands out impermissibly.” (Id. at 6). The Government also notes that there is a

“dearth of case law on this issue” and compares what it contends are analogous cases reviewing

differences in background color in a photo array and determining that such differences were not

unduly suggestive. (Id. at 7 (citing Legenzoff, 564 F. App’x at 143–44; United States v. McComb,

249 F. App’x 429, 436–39 (6th Cir. 2007); United States v. Soto, 124 F. App’x 956, 965 (6th Cir.

2005))).



                                                      7

    Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 7 of 11 PageID #: 216
       Ultimately, the Court agrees with the gist of the Government’s argument. The mere fact

that Defendant’s photograph has something unique about it does not make the photo array unduly

suggestive, because Defendant’s photo is far from the only one to have some unique characteristic.

       In his Reply, Defendant asserts that the Court should conduct a simple analysis—“[t]he

question for the Court is Mr. Wiggins’ head shot substantially bigger than the others and if so (of

course it is) does this fact make the spread unduly suggestive when looking all the other factors as

a whole.” (Doc. No. 49 at 3). Essentially Defendant asserts that this Court must focus on the

particular uniqueness reflected in Defendant’s photo and decide whether such uniqueness

(irrespective of the fact that other comparators’ photos have unique qualities) makes the photo

array unduly suggestive as to Defendant.

       As noted above, the Court agrees with Defendant that he appears larger in his photo than

the other persons in the photo array. And the Court does not dispute that even if every comparator

has something unique regarding his photograph, the particular uniqueness of Defendant’s

photograph conceivably could rise to the level where it makes the photo array unduly suggestive.

However, in the Court’s view, that is simply not the case here. The Court perceives the difference

in size as more slight than “substantial” and certainly not so striking as to render the array unduly

suggestive. The difference in size in actuality is minor and would not, in the Court’s view, direct

a witness’s attention to Defendant in the photo array. See Howard, 405 F.3d at 470. The

differences in size cited by Defendant are inconsequential and fail to render the photo array

suggestive, much less impermissibly suggestive. Thus, Defendant has not met his burden of

production to show that the size of Defendant’s photograph in the photo array is unduly suggestive.

       III. Defendant’s White Shirt

          Finally, Defendant argues that he “is the only guy wearing a white t-shirt” in the photo



                                                     8

   Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 8 of 11 PageID #: 217
array. Defendant does not explain how, and the Court does not see how, Defendant’s white shirt

results in the photo array being unduly suggestive. As the Government points out, the clothing of

each comparator is different from the others in style and color. Thus, Defendant’s white shirt would

not “steer[]” the witness to choose Defendant’s photo. Wilson, 250 F.3d at 397; see also United

States v. Matthias, No. CR 2016-0025, 2017 WL 2434458, at *4 (D.V.I. June 5, 2017)

(“Defendant’s white shirt is of no real significance here because the individuals shown in the photo

array are wearing shirts of various colors—dark-colored shirts, a dark colored shirt with a white

undershirt, a red/orange shirt, and what appears to be a salmon colored shirt. Thus, Defendant's

white shirt does not distinguish Matthias from the other individuals pictured any more, for

example, than the red/orange shirt or the dark shirt with the white undershirt distinguishes those

individuals.”).

          Additionally, although the witness described the suspect as wearing a black sweater and

white undershirt, the fact that Defendant is wearing a white shirt in the photo array does not make

the photo array unduly suggestive in light of the similarities (as noted below) between Defendant

and the other comparators. See, e.g., United States v. Peterson, 411 F. App’x 857, 864 (6th Cir.

2011) (rejecting defendant’s argument “that the photo array was unduly suggestive because his

photo was the only one in dark clothing, which was part of the description of the robber,” since

this and other discrepancies did not outweigh the “many substantial similarities” between the

photos). Therefore, the Court finds that Defendant’s white shirt does not indicate that the photo

array was unduly suggestive.

                             ADDITIONAL CONSIDERATIONS

          Here, Defendant and the comparators share many similarities, such as race, hair style

(bald), and build. Unsurprisingly, this cuts against a finding of undue suggestiveness. See United



                                                     9

    Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 9 of 11 PageID #: 218
States v. Reamey, 132 F. App’x 613, 616 (6th Cir. 2005) (holding that in light of the many

similarities between the defendant and persons in the photo array, “the alleged differences in

clothing, expression, and age are too minor to render the spread unduly suggestive”); Peterson,

411 F. App’x at 865 (“Having reviewed the photo array, we conclude that it is not unduly

suggestive. In light of the many substantial similarities between those in the photo array, the

alleged differences in clothing and age are too minor to render the spread unduly suggestive.”).

Thus, the Court concludes that in light of these significant similarities, the differences in age

between Defendant and the other comparators is too minor to be unduly suggestive. See Walton v.

Falk, No. 13-CV-00403-RM-BNB, 2014 WL 1758212, at *8 (D. Colo. May 1, 2014) (finding that

a photo array was not unduly suggestive where “there [was] a noticeable variance in age of the

men depicted” but three men in the photo array were “certainly within [the age range identified by

the witness], and all the men depicted have similar facial features, facial hair, hair styles, and hair

color and are of the same race”). Moreover, Defendant notes in his own brief (Doc. No. 46 at 2)

that the feature the victim focused on in identifying Defendant as the robber was “his chin” and

not any of the attributes Defendant contends were unduly suggestive. Thus, based on a totality of

the circumstances, this Court concludes that the photo array was not unduly suggestive and that

there was not a substantial risk of misidentification.

                                          CONCLUSION

           As noted above, a finding that a photo array is not unduly suggestive generally ends the

inquiry and a motion to suppress may be denied entirely on this basis. See United States v. Watson,

540 F. App’x 512, 515 (6th Cir. 2013) (“If the defendant fails to show that the identification

procedure was tainted by undue suggestiveness, our analysis ends.”). Thus, this concludes the

Court’s analysis and Defendant’s Motion is DENIED. A trial scheduling order will be entered



                                                      10

   Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 10 of 11 PageID #: 219
promptly.

      IT IS SO ORDERED.




                                         ____________________________________
                                         ELI RICHARDSON
                                         UNITED STATES DISTRICT JUDGE




                                        11

  Case 3:19-cr-00296 Document 50 Filed 04/05/21 Page 11 of 11 PageID #: 220
